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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF KENTUCKY
                                      Pikeville Division

IN RE:

JUSTIN TODD TROUT
                                                     CASE NO.          18-70695-GRS
                  DEBTOR.                                              CHAPTER 7

                       DISCLOSURE OF FEES OF COUNSEL FOR DEBTOR

          Notice is hereby given pursuant to 11 U.S.C. § 329(b) and Fed.R.Bankr.P. 2016(b) that

McBrayer PLLC, as counsel for the Debtor, received a retainer payment of $2,500.00 from

Eastern Air Flow of Kentucky, LLC on September 4, 2019, for services rendered and/or to be

rendered to the Debtor in connection with this bankruptcy case. McBrayer PLLC has not shared

or agreed to share the above-described compensation with any other person or entity.

                                        By:   /s/ Douglas T. Logsdon
                                              Douglas T. Logsdon
                                              MCBRAYER PLLC
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                                              Lexington, Kentucky 40507
                                              Telephone: (859) 231.8780
                                              Facsimile: (859) 281.1552
                                              Email: dlogson@mmlk.com
                                              ATTORNEYS FOR JUSTIN TODD TROUT

                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 9th day of September, 2019, a true and
correct copy of the foregoing document was served via the Court's ECF notification system.

                                                       /s/ Douglas T. Logsdon
                                                       Douglas T. Logsdon


4826-6206-5828, v. 1




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